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 4
 5   Attorney for Defendant,
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 6
 7
 8                                                 UNITED STATES DISTRICT COURT
 9                                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )                          CASE NO. 1:09-cr-00006-LJO
                                         )
12               Plaintiff,              )
                                         )                          STIPULATION TO CONTINUE
13                                       )                          SENTENCING SCHEDULE AND
     vs.                                 )                          HEARING; [PROPOSED] ORDER
14                                       )
                                         )
15   JAIME LEON ZAMORA,                  )                          Date: September 25, 2009
                                         )                          Time: 9:00 A.M.
16               Defendant.              )                          Judge: Hon. Lawrence J. O’Neill
                                         )
17   ____________________________________)
18               IT IS HEREBY STIPULATED by and between the parties hereto through their
19   respective counsel, MARK CULLERS, Chief Assistant United States Attorney, counsel for
20   Plaintiff, and CAROL ANN MOSES, Attorney of Record for Defendant, JAIME LEON
21   ZAMORA, that the sentencing schedule in the above-referenced matter be revised as follows:
22   informal objections to the Presentence Investigation Report now due August 21, 2009, shall be
23   due October 9, 2009; Probation will submit the report to the Court by October 16, 2009; formal
24   objections to the Presentence Investigation Report now due September 14, 2009, shall be due
25   October 23, 2009; and the sentencing hearing now scheduled for September 25, 2009, shall be
26   continued to October 30, 2009, at 8:45 A.M.
27   ///
28   ///

     STIPU LATIO N TO C O N TIN U E SEN TEN C IN G
     SC HED U LE & HEAR IN G ; [PR O PO SED ] O R D ER          1
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 1               Defendant seeks this continuance because the Presentence Report was received on August
 2   19, 2009. Defense counsel is out of town beginning August 22, 2009, and will be unavailable for
 3   3 weeks until September 14, 2009.
 4   Dated: August 20, 2009                                    By: /s/ Carol Ann Moses
                                                                      CAROL ANN MOSES
 5                                                                    Attorney for Defendant
                                                                      JAIME LEON ZAMORA
 6
 7   Dated: August 20, 2009                                    By: /s/ Mark Cullers
                                                                      MARK CULLERS
 8                                                                    Chief Assistant U.S. Attorney
                                                                      Attorney for Plaintiff
 9
10
                                                         ORDER
11
12
                 The Court, having reviewed the above request HEREBY ORDERS AS FOLLOWS:
13
     The Sentencing Schedule shall be adopted as detailed in this Stipulation. The Sentencing
14
     Hearing for Defendant, JAIME LEON ZAMORA, will be continued to October 30, 2009 at 8:45
15
     A.M. Good Cause exists for the change.
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19   IT IS SO ORDERED.
20   Dated:           August 21, 2009                        /s/ Lawrence J. O'Neill
     b9ed48                                              UNITED STATES DISTRICT JUDGE
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     STIPU LATIO N TO C O N TIN U E SEN TEN C IN G
     SC HED U LE & HEAR IN G ; [PR O PO SED ] O R D ER     2
